                  Case 23-11388-CTG               Doc 15       Filed 09/07/23        Page 1 of 39




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           ) Case No. 23-11388 (CTG)
                                                           )
                               Debtors.                    ) (Joint Administration Requested)
                                                           )

 MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
  APPROVING DEBTORS’ PROPOSED FORM OF ADEQUATE ASSURANCE OF
PAYMENT, (II) ESTABLISHING PROCEDURES FOR RESOLVING OBJECTIONS BY
   UTILITY COMPANIES, (III) PROHIBITING UTILITY COMPANIES FROM
           ALTERING, REFUSING OR DISCONTINUING SERVICE,
                  AND (IV) GRANTING RELATED RELIEF


             Off Lease Only LLC, Off Lease Only Parent LLC, and Colo Real Estate Holdings LLC,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), seek entry of

interim and final orders, substantially in the forms attached hereto as Exhibit A (the “Interim

Order”) and Exhibit B (the “Final Order” and, together with the Interim Order, the “Proposed

Orders”), respectively, pursuant to sections 105(a) and 366 of title 11 of the United States Code

(the “Bankruptcy Code”) and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), (i) authorizing the Debtors’ proposed form of adequate assurance of

postpetition payment to the Debtors’ utilities, as that term is used in section 366 of the Bankruptcy

Code (the “Utility Companies”); (ii) establishing procedures for resolving any objections by the

Utility Companies relating to the Proposed Adequate Assurance (as defined herein); (iii)

prohibiting the Utility Companies from altering, refusing or discontinuing service to or



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
      Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
      Ave., Palm Springs, FL 33406.



                                                    DOCS_DE:244646.1
                Case 23-11388-CTG              Doc 15        Filed 09/07/23        Page 2 of 39




discriminating against the Debtors solely on the basis of the commencement of these Chapter 11

Cases (as defined herein), a debt that is owed by the Debtors for services rendered prior to the

Petition Date (as defined herein) or on account of any perceived inadequacy of the Debtors’

Proposed Adequate Assurance; and (iv) granting related relief. In support of this motion (the

“Motion”), the Debtors rely upon and incorporate by reference the Declaration of Leland Wilson

in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”),2 filed

contemporaneously herewith. In further support of this Motion, the Debtors respectfully state as

follows:

                                     JURISDICTION AND VENUE

        1.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.        Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a final order by the Court in connection with this Motion to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

        3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
    Declaration.


                                                         2
                                                 DOCS_DE:244646.1
                Case 23-11388-CTG                Doc 15        Filed 09/07/23        Page 3 of 39




        4.        The statutory bases for the relief requested in this Motion are sections 105(a) and

366 of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004.

                                                BACKGROUND

        5.        On the date hereof (the “Petition Date”), the Debtors commenced these chapter 11

cases by filing petitions for relief pursuant to chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”).

        6.        The Debtors continue to manage and operate their business as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        7.        As of the date hereof, no trustee, examiner, or official committee has been

appointed in the Chapter 11 Cases.

        8.        A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the filing of these Chapter 11 Cases, and the

facts and circumstances supporting this Motion, are set forth in greater detail in the First Day

Declaration and are incorporated by reference herein.

                                FACTS RELEVANT TO THIS MOTION

        9.        In connection with the normal operations of their business prior to the Petition

Date, and the management of their property, the Debtors utilize electric and natural gas, internet

and telephone, water and sewage, and other similar services (collectively, the “Utility Services”)

to facilitate their business operations. The Utility Services are provided by the Utility Companies

listed on Schedule 1 to the proposed Interim Order and Final Order (the “Utility Company List”).3


3
    The Debtors have endeavored to identify all of the Utility Companies and list them on Schedule 1 hereto.
    However, inadvertent omissions may have occurred, and the omission from Schedule 1 of any entity providing
    Utility Services to the Debtors shall not be construed as an admission, waiver, acknowledgement, or consent that
    section 366 of the Bankruptcy Code does not apply to such entity.
    Section 366 of the Bankruptcy Code applies to entities that are traditionally viewed as utilities, such as those that
    provide electricity, telephone service, or water, and to any entity that supplies services that cannot be readily

                                                           3
                                                   DOCS_DE:244646.1
                    Case 23-11388-CTG                Doc 15        Filed 09/07/23        Page 4 of 39




     The Utility Services are utilized at the Debtors’ various facilities throughout Florida and Texas.

     The relief requested herein applies to all Utility Companies providing Utility Services to the

     Debtors and is not limited to those listed on the Utility Company List, although the Debtors will

     endeavor to add any unintentionally omitted Utility Companies to the Utility Company List as

     soon as possible after discovery. While the Debtors have ceased the retail operation of their

     businesses, in the absence of continuous Utility Services, there would be risk attendant to the

     Debtors’ assets and undermine the wind-down of the Debtors’ operations.

            10.       In general, the Debtors have established a good payment history with the Utility

     Companies, making payments on a regular and timely basis. Historically, the Debtors have paid,

     on average, approximately One Hundred Thirty-Eight Thousand One Hundred Forty-Five Dollars

     ($138,145.00) per month on account of Utility Services to the Utility Companies on the Utilities

     Company List.

I.          The Proposed Adequate Assurance

            11.       The Debtors fully intend to pay all undisputed post-petition obligations owed to

     the Utility Companies in a timely manner. The Debtors project that cash on hand as of the Petition

     Date and additional post-petition receipts will be sufficient to pay any such obligations owed to

     the Utility Companies. Nevertheless, to provide additional assurance of payment for future




        obtained or replaced elsewhere, or which constitutes a monopoly with respect to the services that it provides to
        the debtor. See, e.g., One Stop Realtour Place, Inc. v. Allegiance Telecom, Inc. (In re One Stop Realtour Place,
        Inc.), 268 B.R. 430, 436-37 (Bankr. E.D. Pa. 2001) (provider of telephone service is a utility regardless of whether
        telephone service may be available from another provider); In re Coastal Dry Dock & Repair Corp., 62 B.R. 879,
        883 (Bankr. E.D.N.Y. 1986) (landlord of the Brooklyn Navy Yard “occupies ‘a special position with respect to
        the debtor’ in its role as [the debtor’s] utility supplier”). Despite the wide latitude afforded in determining those
        entities that constitute utilities pursuant to section 366 of the Bankruptcy Code, some of the companies listed on
        Schedule 1 to the proposed Interim Order and Final Order may also provide goods or services to the Debtors in a
        capacity other than that of a utility. With respect to any such goods or services, such companies are not entitled
        to adequate assurance pursuant to section 366 of the Bankruptcy Code. In addition, the Debtors reserve the right
        to assert that any of the entities now and hereafter included on the Utility Company List are not “utilities” within
        the meaning of section 366(a) of the Bankruptcy Code.


                                                               4
                                                       DOCS_DE:244646.1
                    Case 23-11388-CTG         Doc 15       Filed 09/07/23   Page 5 of 39




      services to the Utility Companies following the Petition Date, the Debtors propose that, on or

      before the date that is twenty (20) days after the Petition Date, the Debtors will (i) establish a

      newly-created, interest-bearing, segregated account (the “Utility Deposit Account”) and (ii) place

      a deposit equal to the Debtors’ estimated aggregate cost for two (2) weeks of Utility Services,

      calculated based on the historical average paid over the past seven (7) months to the Utility

      Companies (the “Utility Deposit”) into such Utility Deposit Account.

             12.     The Debtors estimate, based on the average two (2) week cost of the Utility

      Services, that the aggregate Utility Deposit will be approximately Sixty-Four Thousand One

      Hundred Sixty-Two Dollars ($64,162.00). The Debtors submit that the Utility Deposit, in

      conjunction with the Debtors’ ability to pay for future Utility Services throughout the wind-down

      of their operations (together, the “Proposed Adequate Assurance”), constitutes sufficient adequate

      assurance of payment as contemplated by section 366 of the Bankruptcy Code.

             13.     Accordingly, upon entry of the Interim Order, any Utility Company that fails to

      request additional adequate assurance (an “Additional Assurance Request”) or file an Objection

      (as defined below) to this Motion, as described below, should be deemed to have been provided

      with adequate assurance of payment as required by section 366 of the Bankruptcy Code and should

      be prohibited from altering, refusing or discontinuing Utility Services, including as a result of

      unpaid charges for prepetition Utility Services. If, however, a Utility Company believes adequate

      assurance beyond that proposed herein is necessary, the Debtors propose that the Utility Company

      must make an Additional Assurance Request pursuant to the procedures described below (the

      “Adequate Assurance Procedures”).

II.          Adequate Assurance Procedures

             14.     In light of the adverse consequences to the Debtors of any interruption in services

      by the Utility Companies, but recognizing the right of the Utility Companies to evaluate the

                                                       5
                                               DOCS_DE:244646.1
             Case 23-11388-CTG         Doc 15       Filed 09/07/23   Page 6 of 39




Proposed Adequate Assurance on a case-by-case basis, the Debtors propose the following

Adequate Assurance Procedures to resolve Additional Assurance Requests in an orderly and fair

manner:

              (a)     Within forty-eight (48) hours after the date of entry of the Interim Order,
              the Debtors will mail a copy of the Interim Order and notice of the Final Hearing
              to the Utility Companies on the Utility Company List.

              (b)     If a Utility Company is not satisfied with the Proposed Adequate Assurance
              and seeks additional adequate assurance of payment, it must serve an Additional
              Assurance Request upon (i) proposed counsel to the Debtors, Proskauer Rose LLP,
              Eleven Times Square, New York, NY 10036 (Attn: Brian S. Rosen
              (brosen@proskauer.com) and Megan R. Volin (mvolin@proskauer.com);
              (ii) proposed co-counsel to the Debtors, Pachulski, Stang, Ziehl, & Jones, 919
              North Market Street, 17th Floor, Wilmington, Delaware 19801 (Attn: Laura Davis
              Jones); and (iii) Office of the United States Trustee, J. Caleb Boggs Federal
              Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
              (collectively, the “Adequate Assurance Notice Parties”).

              (c)     Each Additional Assurance Request must (i) be made in writing; (ii) set
              forth the amount and form of additional assurance of payment requested; (iii) set
              forth the type of Utility Services, any account numbers, and the location for which
              Utility Services are provided; (iv) include a summary of the Debtors’ payment
              history relevant to the affected account(s), including any security deposits or other
              prepayments or assurances previously provided by the Debtors; and (v) set forth
              why the Utility Company believes that the Proposed Adequate Assurance is not
              sufficient adequate assurance of payment.

              (d)    Upon the Debtors’ receipt of an Additional Assurance Request at the
              addresses set forth above, the Debtors will have twenty (20) days from the receipt
              of such Additional Assurance Request, or such longer period agreed to among the
              Debtors and the requesting Utility Provider (the “Resolution Period”), to negotiate
              regarding such Utility Provider’s request for additional assurance of payment.

              (e)     The Debtors may, in their discretion, resolve any Additional Assurance
              Request by mutual agreement with the respective Utility Company without further
              order of the Court, and may, in connection with any such agreement, provide a
              Utility Company with additional adequate assurance of future payment, including
              cash deposits, prepayments, and other forms of security, without further order of
              the Court if the Debtors believe such additional assurance is reasonable.

              (f)     If the Debtors determine that the Additional Assurance Request is not
              reasonable and are not able to reach an alternative resolution with the Utility
              Company during the Resolution Period, then the Debtors, during or immediately
              after the Resolution Period, will request a hearing before the Court to determine the

                                                6
                                         DOCS_DE:244646.1
                     Case 23-11388-CTG          Doc 15       Filed 09/07/23   Page 7 of 39




                      adequacy of assurances of payment with respect to a particular Utility Provider (the
                      “Determination Hearing”) pursuant to section 366(c)(3) of the Bankruptcy Code.

                      (g)     Pending resolution of a dispute scheduled for a Determination Hearing, the
                      Utility Company filing such Additional Assurance Request shall be prohibited from
                      altering, refusing, or discontinuing service to the Debtors on account of unpaid
                      charges for prepetition services or on account of any objections to the Proposed
                      Adequate Assurance.

                      (h)     All Utility Companies shall be deemed to have adequate assurance of
                      payment pursuant to section 366 of the Bankruptcy Code unless and until (i) the
                      Debtors agree in writing to (A) an Additional Assurance Request, or (B) a form of
                      alternative adequate assurance with the Utility Company during the Resolution
                      Period; or (ii) the Court enters an order at any Determination Hearing requiring that
                      additional adequate assurance of payment be provided.

                      (i)     If any utility account with a Utility company is closed during the Chapter
                      11 Cases (a “Closed Account”), the Debtors may, in their discretion, and without
                      further order of the Court, reduce the Utility Deposit by an amount not exceeding,
                      for each Closed Account, the amount deposited with respect to such Closed
                      Account; provided that the Debtors shall have paid such Utility Company in full
                      for any outstanding post-petition Utility Services with respect to the Closed
                      Account before reducing the Utility Deposit.

III.          Objection Deadline and Final Hearing Date

              15.      Section 366 of the Bankruptcy Code arguably places the burden on the Debtors to

       provide, within thirty (30) days after the Petition Date, adequate assurance that is satisfactory to

       the Utility Companies. Similarly, if a Utility Company does not accept any proposed adequate

       assurance, section 366 of the Bankruptcy Code arguably places the burden on the Debtors to seek

       court review of the adequacy of the proposed adequate assurance.

              16.      Such an interpretation of section 366 of the Bankruptcy Code is subject to potential

       abuse by a Utility Company. For example, on the twenty-ninth (29th) day following the Petition

       Date, a Utility Company could announce that the Debtors’ Proposed Adequate Assurance is not

       acceptable, demand an unreasonably large deposit alleging payment risk from the Debtors, and

       threaten to terminate Utility Service the next day unless the Debtors comply with its demand. This

       would effectively leave the Debtors confronted with two (2) equally oppressive and potentially

                                                         7
                                                 DOCS_DE:244646.1
                     Case 23-11388-CTG           Doc 15       Filed 09/07/23    Page 8 of 39




      costly choices: succumb to a Utility Company’s last-minute demands for an unreasonably large

      deposit or face the cessation of essential services at the risk of irreparable disruption to its business

      during the wind-down of operations.

              17.     To avoid this untenable outcome, the Debtors propose that any Utility Company

      that objects to this Motion, including the Adequate Assurance Procedures, must file a written

      objection (an “Objection”) and serve such Objection on the Adequate Assurance Notice Parties so

      that it is actually received by 4:00 p.m. (prevailing Eastern time) on the day that is seven (7) days

      prior to the date of the Final Hearing.

IV.           Subsequent Modifications of Utility Company List and Procedures for Subsequently
              Identified Utility Companies

              18.     Although the Debtors have made a good-faith effort to identify all of the Debtors’

      providers of Utility Services and include them on the Utility Company List, certain Utility

      Companies that currently provide Utility Services to the Debtors may have been inadvertently

      omitted. To the extent that the Debtors identify additional Utility Companies, the Debtors seek

      authority to amend or supplement the Utility Company List. The Debtors will file any such

      amendments and serve copies of the Motion, the Interim Order or the Final Order (if and when

      entered), and the amended Utility Company List, on such newly-identified Utility Companies.

              19.     The Debtors request that any entered orders relating to this Motion be binding on

      all Utility Companies, regardless of when such Utility Company was added to the Utility Company

      List; provided, however, that if a Utility Company is added to the Utility Company List, the

      Debtors will, within twenty (20) days of adding the Utility Company to the Utility Company List,

      increase the amount of the Utility Deposit by an amount equal to the cost of two (2) weeks of

      Utility Services provided by such Utility Company, calculated as a historical average during the

      seven (7) month period prior to the Petition Date.


                                                          8
                                                  DOCS_DE:244646.1
              Case 23-11388-CTG          Doc 15       Filed 09/07/23   Page 9 of 39




       20.      Any Utility Company added to the Utility Company List shall have the right to

make an Additional Assurance Request pursuant to the Adequate Assurance Procedures.

       21.      The Debtors also request authority to remove a Utility Company from the Utility

Company List by filing with the Court a notice or an amended Utility Company List identifying

the Utility Company to be removed and serving a copy of such notice or amended Utility Company

List on the Utility Company to be removed. The Utility Company will have twenty-one (21) days

after service of the notice or amended Utility Company List upon such Utility Company to object

to its removal from the Utility Company List. If the Utility Company does not timely object to its

removal from the Utility Company List, the Utility Company’s removal from the Utility Company

List will be immediately and automatically effective. If a Utility Company timely objects to its

removal from the Utility Company List, the Debtors will request a hearing before this Court at the

next omnibus hearing date in these Chapter 11 Cases or on such other date that the Debtors and

the Utility Company may agree, and the Utility Company’s removal from the Utility Company

List will not be effective until such objection has been resolved either consensually or by order of

this Court.

       22.      The Debtors maintain that the relief requested herein strikes a fair balance between

(i) protecting the rights of the Utility Companies and the rights of the Debtors pursuant to the

Bankruptcy Code and (ii) the need for the Debtors to continue to receive, for the benefit of their

estate, the Utility Services upon which it depends throughout the wind down of their operations.

The Debtors do not believe that the Utility Companies will be prejudiced by the Proposed

Adequate Assurance, the requirement to provide the Debtors with uninterrupted access to Utility

Services, or the procedures for resolving Objections to the Proposed Adequate Assurance.




                                                  9
                                          DOCS_DE:244646.1
                    Case 23-11388-CTG         Doc 15     Filed 09/07/23      Page 10 of 39




              23.    In the event that any Utility Company files and/or serves an Additional Assurance

     Request, the Debtors request that such Additional Assurance Request be treated as a request

     pursuant to section 366(c)(3) of the Bankruptcy Code and shall be granted, if at all, only after the

     Court adjudicates any disputes between the parties following a Utility Company making such

     request and scheduling such request for hearing, on notice, in accordance with the provisions of

     the Bankruptcy Code, including section 366(c)(3), and the Bankruptcy Rules.

V.            Prohibition on Altering, Refusing or Discontinuing Service

              24.    Pending the entry of the Interim Order and Final Order with respect to this Motion

     and pending resolution of any Additional Assurance Request, Objection or Determination Hearing,

     the Debtors request that the Utility Companies, regardless of when they were added to the Utility

     Company List, shall be prohibited from (i) discriminating against the Debtors, (ii) altering,

     refusing or discontinuing service to the Debtors, or (iii) requiring payment of a deposit or other

     security for postpetition Utility Services, other than the Utility Deposit, as a result of the Debtors’

     bankruptcy filings or any outstanding prepetition invoices, subject to any further order(s) of the

     Court.

                                           RELIEF REQUESTED

              25.    The Debtors seek entry of the Interim and Final Orders, substantially in the forms

     attached hereto as Exhibit A and Exhibit B, respectively, (a) approving the Debtors’ proposed

     form of adequate assurance of postpetition payment to the Utility Companies; (b) approving

     procedures for resolving any objections by the Utility Companies relating to the Proposed

     Adequate Assurance; (c) prohibiting the Utility Companies from altering, refusing or

     discontinuing service to or discriminating against the Debtors solely on the basis of the

     commencement of the Chapter 11 Cases, a debt that is owed by the Debtors for services rendered

     prior to the Petition Date, or on account of any perceived inadequacy of the Debtors’ Proposed

                                                       10
                                                DOCS_DE:244646.1
                     Case 23-11388-CTG         Doc 15      Filed 09/07/23      Page 11 of 39




     Adequate Assurance pending entry of the Final Order; and (d) granting related relief. In addition,

     the Debtors request that the Court schedule a final hearing approximately twenty-one (21) days

     from the Petition Date (the “Final Hearing”). For the reasons set forth herein, the Debtors submit

     that the relief requested herein is in the best interest of the Debtors, their estate, creditors and other

     parties-in-interest, and therefore, should be granted.

                                             BASIS FOR RELIEF

I.           The Proposed Adequate Assurance Provides Utility Companies With Adequate
             Assurance of Payment

             26.      Section 366(a) of the Bankruptcy Code provides:

                      Except as provided in Subsections (b) and (c) of this Section, a
                      utility may not alter, refuse, or discontinue service to, or
                      discriminate against, the trustee or the debtor solely on the basis of
                      the commencement of a case under this title or that a debt owed by
                      the debtor to such utility for service rendered before the order for
                      relief was not paid when due.

     11 U.S.C. § 366(a). Section 366(b) of the Bankruptcy Code goes on to provide, however, that:

                      Such utility may alter, refuse, or discontinue service if neither the
                      trustee nor the debtor, within 20 days after the date of the order for
                      relief, furnishes adequate assurance of payment, in the form of a
                      deposit or other security, for service after such date.

     Id. § 366(b).

             27.      The policy underlying section 366 of the Bankruptcy Code is to protect the debtor

     from utility service cutoffs upon the filing of a bankruptcy case, while at the same time providing

     utility companies with adequate assurance that the debtor will pay for postpetition services. See

     H.R. Rep. No. 95-595, at 350 (1978), reprinted in 1978 U.S.C.C.A.N. 5963, 6306; see also Jones

     v. Bos. Gas Co. (In re Jones), 369 B.R. 745, 748 (B.A.P. 1st Cir. 2007) (“The purpose of § 366 is

     ‘to prevent the threat of termination from being used to collect pre-petition debts while not forcing

     the utility to provide services for which it may never be paid.’”) (quoting Begley v. Phila. Elec.


                                                        11
                                                  DOCS_DE:244646.1
                   Case 23-11388-CTG          Doc 15      Filed 09/07/23     Page 12 of 39




      Co.(In re Begley), 760 F.2d 46, 49 (3d Cir. 1985)). As set forth herein, the relief requested in this

      Motion is consistent with the Bankruptcy Code’s policy goals.

             28.      Specifically, pursuant to section 366(b) of the Bankruptcy Code, a debtor must

      furnish what it considers to be adequate assurance of payment within twenty (20) days after the

      entry of the order for relief in the form of a deposit or other security for postpetition service.

      Section 366(c)(1)(A) of the Bankruptcy Code defines “assurance of payment” to include, among

      other things, “a cash deposit.” 11 U.S.C. § 366(c)(1)(A)(i). Here, the Debtors propose to place a

      deposit equal to two (2) weeks of Utility Services into the Utility Deposit Account for the benefit

      of the Utility Companies on the Utility Company List. Accordingly, the Proposed Adequate

      Assurance provides the Utility Companies with adequate assurance of payment consistent with the

      requirements of section 366(c)(1)(A)(i) of the Bankruptcy Code.

II.          The Debtors’ Proposed Adequate Assurance Procedures Properly Balance the
             Interests of the Utility Companies and Those of the Debtors and Their Estate

             29.      The Court should also approve the Debtors’ proposed Adequate Assurance

      Procedures because they provide the Utility Companies with a fair and orderly process for seeking

      modification of the Proposed Adequate Assurance while protecting the Debtors from being

      required to address additional assurance requests in a disorganized manner and at a time when the

      Debtors’ efforts could be more productively focused on the seamless continuation of the wind

      down of the Debtors’ operations in chapter 11.

             30.      In fact, the Adequate Assurance Procedures are merely a practical manifestation

      of the policy goal embodied in section 366 of the Bankruptcy Code. Congress enacted section 366

      to protect a debtor from utility service cutoffs upon a bankruptcy filing while, at the same time,

      providing utility companies with adequate assurance that the debtor will pay for postpetition

      services. See H.R. Rep. No. 95-595, at 350 (1978). Thus, section 366 protects a debtor in


                                                       12
                                                 DOCS_DE:244646.1
              Case 23-11388-CTG          Doc 15      Filed 09/07/23      Page 13 of 39




possession by enjoining utilities from altering, refusing or discontinuing services solely on account

of unpaid prepetition amounts for a period of thirty (30) days after the bankruptcy filing. Section

366 also protects utility companies by permitting them to alter, refuse or discontinue service after

thirty (30) days if the debtor in possession has not furnished “adequate assurance” of payment.

       31.      Here, notwithstanding a determination that the Debtors’ Proposed Adequate

Assurance constitutes sufficient adequate assurance, any rights the Utility Companies believe they

have pursuant to sections 366(b) and (c)(2) are wholly preserved pursuant to the Adequate

Assurance Procedures. The Utility Companies still may choose, in accordance with the established

Adequate Assurance Procedures, to request modification of the Proposed Adequate Assurance.

       32.      In short, the Adequate Assurance Procedures ensure all parties act in good faith

when exercising their rights pursuant to section 366 of the Bankruptcy Code. Therefore, because

the Adequate Assurance Procedures are reasonable and in accord with the purposes of section 366,

this Court should grant the relief requested here.

       33.      Courts in this jurisdiction have authorized similar relief in other chapter 11 cases.

See, e.g., In re Medly Health Inc., No. 22-11257 (KBO) (Bankr. D. Del. Jan. 6, 2023) (approving

adequate assurance deposit equal to one-half of debtor’s average monthly utility expenses); In re

Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Sept. 22, 2022) (same); In re TECT

Aerospace Grp. Holdings, Inc., No. 21-10670 (KBO) (Bankr. D. Del. May 5, 2021) (same); In re

Mallinckrodt plc, No. 20-12522 (JTD) (Bankr. D. Del. Nov. 10, 2020) (same); In re CraftWorks

Parent, LLC, No. 20-10475 (BLS) (Bankr. D. Del. Mar. 4, 2020) (same).

       34.      For these reasons, the Debtors submit that the relief requested herein is in the best

interest of the Debtors, their estate, creditors and other parties-in-interest and, therefore, should be

granted.



                                                  13
                                            DOCS_DE:244646.1
             Case 23-11388-CTG          Doc 15      Filed 09/07/23     Page 14 of 39




        THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

       35.      Bankruptcy Rule 6003 provides that the relief requested in this Motion may be

granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P.

6003. The Third Circuit has interpreted the language “immediate and irreparable harm” in the

context of preliminary injunctions. In that context, the court has instructed that irreparable harm

is a continuing harm which cannot be adequately redressed by final relief on the merits and for

which money damages cannot provide adequate compensation. See, e.g., Norfolk S. Ry. Co. v.

City of Pittsburgh, 235 F. App’x 907, 910 (3d Cir. 2007) (citing Glasco v. Hills, 558 F.2d 179,

181 (3d Cir. 1977)). Furthermore, the harm must be shown to be actual and imminent, not

speculative or unsubstantiated. See, e.g., Acierno v. New Castle Cnty., 40 F.3d 645, 653-55 (3d

Cir. 1994). The Debtors submit that for the reasons already set forth herein, the relief requested

in this Motion is necessary to avoid immediate and irreparable harm to the Debtors and,

accordingly, should be granted.

                 WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

       36.      To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements pursuant to Bankruptcy Rule 6004(a) and the fourteen (14)-day stay of an order

authorizing the use, sale, or lease of property pursuant to Bankruptcy Rule 6004(h).

                                  RESERVATION OF RIGHTS

       37.      Nothing contained in this Motion or any actions taken by the Debtors pursuant to

relief granted in the interim or final orders is intended or should be construed as: (a) an admission

as to the validity of any particular claim against the Debtors; (b) a waiver of any party’s rights to

dispute any particular claim on any grounds; (c) a promise or requirement to pay any particular

claim; (d) an implication or admission that any particular claim is of a type specified or defined in

this Motion; (e) a request or authorization to assume any agreement, contract, or lease pursuant to

                                                 14
                                           DOCS_DE:244646.1
             Case 23-11388-CTG           Doc 15     Filed 09/07/23     Page 15 of 39




section 365 of the Bankruptcy Code; (f) a waiver or limitation of any party’s rights pursuant to the

Bankruptcy Code or any other applicable law; or (g) a concession by any party that any liens

(contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion are valid, and

all parties’ rights to contest the extent, validity, or perfection or seek avoidance of all such liens

are hereby reserved. If the Court grants the relief sought herein, any payment made pursuant to

the Court’s order is not intended and should not be construed as an admission as to the validity of

any particular claim or a waiver of any party’s rights to subsequently dispute such claim.

                                             NOTICE

       38.      The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Department of Justice; (d) the

office of the attorneys general for the states in which the Debtors operate; (e) the United States

Attorney’s Office for the District of Delaware; (f) the Internal Revenue Service; (g) the Utility

Companies; (h) Cerberus Off Lease Only LLC; (i) Spirit Realty, L.P.; (j) Ally Bank; and (k) any

party that has requested notice pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first

day” relief, within two (2) business days of the hearing on this Motion, the Debtors will serve

copies of this Motion and any order entered in respect to this Motion as required by Local Rule

9013-1(m). The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.

                                     NO PRIOR REQUEST

       39.      No prior request for the relief sought herein has been made by the Debtors to this

or any other court.




                                                  15
                                           DOCS_DE:244646.1
             Case 23-11388-CTG         Doc 15      Filed 09/07/23   Page 16 of 39




                                        CONCLUSION

       WHEREFORE the Debtors respectfully request that the Court enter interim and final

orders, substantially in the forms attached hereto as Exhibit A and Exhibit B, granting the relief

requested herein and such other relief as the Court deems appropriate under the circumstances.

Dated: September 7, 2023                  Respectfully submitted,
Wilmington, Delaware
                                           /s/ Laura Davis Jones
                                           Laura Davis Jones, Esq. (DE Bar No. 2436)
                                           James E. O’Neill, Esq. (DE Bar No. 4042)
                                           Colin R. Robinson, Esq. (DE Bar No. 5524)
                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           919 North Market Street, 17th Floor
                                           P.O. Box 8705
                                           Wilmington, Delaware 19899-8705 (Courier 19801)
                                           Telephone: 302-652-4100
                                           Facsimile: 302-652-4400
                                           email: ljones@pszjlaw.com
                                                   joneill@pszjlaw.com
                                                   crobinson@pszjlaw.com

                                           Proposed Co-Counsel for the Debtors and Debtors in
                                           Possession

                                           -and-

                                           Brian S. Rosen, Esq. (pro hac vice pending)
                                           Megan R. Volin, Esq. (pro hac vice pending)
                                           PROSKAUER ROSE LLP
                                           Eleven Times Square
                                           New York, New York 10036
                                           Telephone: (212) 969-3000
                                           Facsimile: (212) 969-2900
                                           Email: brosen@proskauer.com
                                                   mvolin@proskauer.com




                                                16
                                         DOCS_DE:244646.1
Case 23-11388-CTG   Doc 15    Filed 09/07/23   Page 17 of 39




                      -and-

                      Ashley M. Weringa, Esq. (pro hac vice pending)
                      Christian J. Palacios, Esq. (pro hac vice pending)
                      PROSKAUER ROSE LLP
                      70 W. Madison, Suite 3800
                      Chicago, Illinois 60602
                      Telephone: (312) 962-3550
                      Facsimile: (312) 962-3551
                      Email: aweringa@proskauer.com
                              cpalacios@proskauer.com

                      Proposed Counsel for the Debtors and Debtors in
                      Possession




                             17
                     DOCS_DE:244646.1
Case 23-11388-CTG   Doc 15    Filed 09/07/23   Page 18 of 39




                      EXHIBIT A

                Proposed Interim Order




                     DOCS_DE:244646.1
                  Case 23-11388-CTG              Doc 15        Filed 09/07/23       Page 19 of 39




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Joint Administration Requested)
                                                           )
                                                           )   Re: Docket No. __

       INTERIM ORDER (I) APPROVING THE DEBTOR’S PROPOSED FORM OF
    ADEQUATE ASSURANCE OF PAYMENT, (II) ESTABLISHING PROCEDURES FOR
       RESOLVING OBJECTIONS BY UTILITY COMPANIES, (III) PROHIBITING
      UTILITY COMPANIES FROM ALTERING, REFUSING OR DISCONTINUING
                SERVICE, AND (IV) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Entry of Interim and Final Orders (I) Approving the

Debtor’s Proposed Form of Adequate Assurance of Payment, (II) Establishing Procedures for

Resolving Objections by Utility Companies, (III) Prohibiting Utility Companies from Altering,

Refusing or Discontinuing Service, and (IV) Granting Related Relief (the “Motion”)2 filed by the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) for entry of an

interim order (this “Interim Order”), (i) approving the Debtors’ proposed form of adequate

assurance of postpetition payment to the Utility Companies; (ii) establishing procedures for

resolving any objections by the Utility Companies relating to the Proposed Adequate Assurance;

(iii) prohibiting the Utility Companies from altering, refusing or discontinuing service to, or

discriminating against, the Debtors solely on the basis of (a) the commencement of these Chapter

11 Cases, (b) a debt that is owed by the Debtors for services rendered prior to the Petition Date or



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
      Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
      Ave., Palm Springs, FL 33406.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



                                                    DOCS_DE:244646.1
              Case 23-11388-CTG           Doc 15        Filed 09/07/23    Page 20 of 39




(c) on account of any perceived inadequacy of the Debtors’ Proposed Adequate Assurance; (iv)

granting related relief; and (v) scheduling a final hearing to consider approval of the Motion on a

final basis; all as more fully set forth in the Motion; and upon consideration of the First Day

Declaration; and the record of these Chapter 11 Cases; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012, and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in

the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and the First Day Declaration and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on an interim basis as set forth herein.

        2.      The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed with the Court, and served so as to be received by the following

parties, by no later than 4:00 p.m., prevailing Eastern Time, on _________, 2023: (i) proposed



                                                    2
                                             DOCS_DE:244646.1
             Case 23-11388-CTG         Doc 15         Filed 09/07/23   Page 21 of 39




counsel to the Debtors, Proskauer Rose LLP, Eleven Times Square, New York, NY 10036 (Attn:

Brian S. Rosen (brosen@proskauer.com) and Megan R. Volin (mvolin@proskauer.com);

(ii) proposed co-counsel to the Debtors, Pachulski, Stang, Ziehl, & Jones, 919 North Market Street,

17th Floor, Wilmington, Delaware 19801 (Attn: Laura Davis Jones); and (iii) Office of the United

States Trustee, J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, DE 19801.

       3.      Subject to the Adequate Assurance Procedures set forth below, the Proposed

Adequate Assurance constitutes “adequate assurance of payment” for purposes of section 366 of

the Bankruptcy Code on an interim basis.

       4.      Within twenty (20) days after the Petition Date, the Debtors shall (i) establish a

newly-created, interest-bearing, segregated account (the “‘Utility Deposit Account”) and (ii) place

a deposit in the amount of Sixty-Four Thousand One Hundred Sixty-Two Dollars ($64,162.00)

(the “Utility Deposit”) into such Utility Deposit Account.

       5.      The Utility Deposit shall be held for the purpose of providing adequate assurance

of payment to each Utility Company for its postpetition Utility Services to the Debtors.

       6.      The following Adequate Assurance Procedures for any Utility Company not

satisfied with the Proposed Adequate Assurance to request additional adequate assurance (an

“Additional Assurance Request”) are approved on an interim basis:

                   (a) Within forty-eight (48) hours after the date of entry of this Interim Order,
                       the Debtors will mail a copy of this Interim Order and notice of the Final
                       Hearing to the Utility Companies on the Utility Company List.

                   (b) If a Utility Company is not satisfied with the Proposed Adequate Assurance
                       and seeks additional adequate assurance of payment, it must serve an
                       Additional Assurance Request upon (i) proposed counsel to the Debtors,
                       Proskauer Rose LLP, Eleven Times Square, New York, NY 10036 (Attn:
                       Brian S. Rosen (brosen@proskauer.com) and Megan R. Volin
                       (mvolin@proskauer.com); (ii) proposed co-counsel to the Debtors,
                       Pachulski, Stang, Ziehl, & Jones, 919 North Market Street, 17th Floor,

                                                  3
                                           DOCS_DE:244646.1
Case 23-11388-CTG       Doc 15       Filed 09/07/23   Page 22 of 39




      Wilmington, Delaware 19801 (Attn: Laura Davis Jones); and (iii) Office of
      the United States Trustee, J. Caleb Boggs Federal Building, 844 King
      Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (collectively, the
      “Adequate Assurance Notice Parties”).

   (c) An Additional Assurance Request may be made at any time.

   (d) Each Additional Assurance Request must (i) be made in writing; (ii) set
       forth the amount and form of additional assurance of payment requested;
       (iii) set forth the type of Utility Services, any account numbers, and the
       location for which Utility Services are provided; (iv) include a summary of
       the Debtors payment history relevant to the affected account(s), including
       any security deposits or other prepayments or assurances previously
       provided by the Debtors; and (v) set forth why the Utility Company believes
       that the Proposed Adequate Assurance is not sufficient adequate assurance
       of payment.

   (e) Upon the Debtors’ timely receipt of an Additional Assurance Request at the
       addresses set forth above, the Debtors will have twenty (20) days from the
       receipt of such Additional Assurance Request, or such longer period agreed
       to among the Debtors and the requesting Utility Provider (the “Resolution
       Period”), to negotiate regarding with such Utility Provider’s request for
       additional assurance of payment.

   (f) The Debtors may resolve any Additional Assurance Request by mutual
       agreement with the respective Utility Company without further order of the
       Court, and may, in connection with any such agreement, provide a Utility
       Company with additional adequate assurance of future payment, including
       cash deposits, prepayments, and other forms of security, without further
       order of the Court if the Debtors believe such additional assurance is
       reasonable.

   (g) If the Debtors determine that the Additional Assurance Request is not
       reasonable and is not able to reach an alternative resolution with the Utility
       Company during the Resolution Period, then the Debtors, during or
       immediately after the Resolution Period, will request a hearing before the
       Court to determine the adequacy of assurances of payment with respect to
       a particular Utility Provider (the “Determination Hearing”) pursuant to
       section 366(c)(3) of the Bankruptcy Code.

   (h) Pending resolution of a dispute scheduled for a Determination Hearing, the
       Utility Company filing such Additional Assurance Request shall be
       prohibited from altering, refusing, or discontinuing service to the Debtors
       on account of unpaid charges for prepetition services or on account of any
       objections to the Proposed Adequate Assurance.




                                 4
                          DOCS_DE:244646.1
              Case 23-11388-CTG         Doc 15       Filed 09/07/23   Page 23 of 39




                   (i) All Utility Companies shall be deemed to have adequate assurance of
                       payment pursuant to section 366 of the Bankruptcy Code unless and until
                       (i) the Debtors agree in writing to (a) an Additional Assurance Request, or
                       (b) a form of alternative adequate assurance with the Utility Company
                       during the Resolution Period; or (ii) the Court enters an order at any
                       Determination Hearing requiring that additional adequate assurance of
                       payment be provided.

       7.      The Debtors may, subject to the terms of this Interim Order, amend or supplement

Schedule 1 attached hereto (the “Utility Company List”) to add any Utility Company. The Debtors

shall file any such amended or supplemental Utility Company List with the Court, and serve a

copy of the Motion, this Interim Order, and the amended Utility Company List on any Utility

Company that is added to the Utility Company List. Within twenty (20) days from the time a

Utility Company is added to the Utility Company List, the Debtors shall increase the Utility

Deposit in an amount equal to the cost of two (2) weeks of Utility Services provided by such Utility

Company added to the Utility Company List, calculated as a historical average during the seven

(7) month period prior to the Petition Date. A Utility Company added to the Utility Company List

shall be permitted to make an Additional Assurance Request according to the Adequate Assurance

Procedures.

       8.      The Debtors may remove a Utility Company from the Utility Company List by

filing with the Court a notice or an amended Utility Company List identifying the Utility Company

to be removed, and serving a copy of such notice or amended Utility Company List on the Utility

Company to be removed. The Utility Company shall have twenty-one (21) days after service of

the notice or amended Utility Company List upon such Utility Company to object to its removal

from the Utility Company List. If the Utility Company does not timely object to its removal from

the Utility Company List, the Utility Company’s removal from the Utility Company List shall be

immediately and automatically effective. If a Utility Company timely objects to its removal from

the Utility Company List, the Debtors shall request a hearing before this Court at the next omnibus

                                                 5
                                          DOCS_DE:244646.1
               Case 23-11388-CTG         Doc 15       Filed 09/07/23   Page 24 of 39




hearing date in these Chapter 11 Cases or on such other date that the Debtors and the Utility

Company may agree, and the Utility Company’s removal from the Utility Company List shall not

be effective until such objection has been resolved either consensually or by order of this Court.

         9.     In the event a Utility Provider is removed from the Utility Company List pursuant

to the terms of this Interim Order, (i) the Debtors are authorized to reduce the amount of the Utility

Deposit by the amount that was attributable to the removed Utility Company and such amount will

be promptly returned to the Debtors without further order of the Court, and (ii) if the removed

Utility Company received any additional amount of adequate assurance from the Debtors, the

removed Utility Company shall promptly return such amounts to the Debtors (but in no event later

than five (5) business days after the Utility Provider is removed from the Utility Company List).

         10.    Pending both entry of the Final Order and resolution of any Additional Assurance

Request, Objection, or Determination Hearing, the Utility Companies, regardless of when they

were added to the Utility Company List, shall be prohibited from (i) discriminating against the

Debtors (ii) altering, refusing or discontinuing service to the Debtors, or (iii) requiring payment of

a deposit or other security for postpetition Utility Services, other than the Adequate Assurance

Deposit, as a result of the Debtors’ bankruptcy filing or any outstanding prepetition invoices,

subject to any further order(s) of the Court.

         11.    This Interim Order shall be binding on all Utility Companies, regardless of when

such Utility Company was added to the Utility Company List, subject to any further order of the

Court.

         12.    This Interim Order is without prejudice to any party’s rights to contest any amount

owed to a Utility Company. Nothing in this Interim Order or the Motion shall be deemed to




                                                  6
                                           DOCS_DE:244646.1
              Case 23-11388-CTG         Doc 15         Filed 09/07/23   Page 25 of 39




constitute postpetition assumption of any agreement pursuant to section 365 of the Bankruptcy

Code.

        13.    In accordance with this Interim Order and any other order of this Court, each of the

financial institutions at which the Debtors maintain their accounts relating to the provision of

payment of adequate assurance as provided in this Interim Order is authorized to honor checks and

electronic payment requests presented for the provision of adequate assurance as provided in this

Interim Order and all fund transfer requests made by the Debtors related thereto to the extent that

sufficient funds are on deposit in such amounts.

        14.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        15.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        16.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

        17.    The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Interim Order in accordance with the Motion.

        18.    This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Interim Order.




                                                   7
                                           DOCS_DE:244646.1
                                 Case 23-11388-CTG       Doc 15       Filed 09/07/23     Page 26 of 39




                                                             Schedule 1

                                                       Utility Company List

        Utility Company                Utility Company’s Address                      Service Type         Adequate Assurance
                                                                                                                Deposit
ABC Paging City Beeper            9337 S.W. 40th St., Miami, FL 33165         Telephone                  $109



AT&T                              208 S. Akard St., Dallas, TX 75202          Internet                   $1,538



Bradenton Utilities Commission    101 12th St., West Bradenton, FL 34205      Waste                      $556



CarWars                           6060 N. Central Expressway, Suite           Telephone                  $5,208
                                  #101, Dallas, TX 75206


City of North Lauderdale Water    PO Box 152546, Cape Coral, FL 33915-        Water                      $3,006
and Sewer                         2546


Coastal Waste                     4220 15th St. E., Bradenton FL 34208        Waste                      $851



Consolidated Communications       2116 S. 17th St., Mattoon, IL 61938         Internet                   $441




                                                           DOCS_DE:244646.1
                                  Case 23-11388-CTG       Doc 15       Filed 09/07/23        Page 27 of 39




         Utility Company                Utility Company’s Address                      Service Type            Adequate Assurance
                                                                                                                    Deposit
Comcast Corporation                1701 JFK Boulevard, Philadelphia, PA        Internet                      $4,479
                                   19103


Crown Castle                       1220 Augusta Dr., Suite #600, Houston,      Internet                      $5,279
                                   TX 77057


Florida Public Utilities           PO Box 610, Marianna, FL 32447-0610         Natural Gas                   $158



Florida Power and Light Company    General Mail Facility Miami, FL 33188-      Electricity                   $39,673
                                   0001


Harris County MUD #63              9826 Whithorn Dr., Houston, TX              Water                         $1,616
                                   77095
Lumen                              3340 Peachtree Road N.E., Suite #200,       Telephone                     $10,868
                                   Atlanta, GA 30326
Manatee County Utilities           PO Box 25010, Bradenton, FL 34206-          Water                         $1,355
Department                         5010
Miami Dade Water and Sewer         PO Box 026055, Miami, FL 33102-6055 Water                                 $5,935

Orange County Utilities            9150 Curry Ford Road, Orlando, FL           Water                         $1,275
                                   32825-7600
Orlando Utilities Commission       PO Box 31329, Tampa, FL 33631-3329          Electric/Waste                $16,846



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                                                            DOCS_DE:244646.1
                                Case 23-11388-CTG       Doc 15       Filed 09/07/23        Page 28 of 39




           Utility Company             Utility Company’s Address                     Service Type            Adequate Assurance
                                                                                                                  Deposit
Palm Beach County Water Utilities 9045 Jog Road, Boynton Beach, FL           Water                         $1,966
Department                        33472
Sprint                           6391 Sprint Parkway, Overland Park,         Internet                      $851
                                 KS 66251
Starlink                         1 Rocket Road, Hawthorne, CA 90250          Internet                      $232

Summitt Broadband                1443 Rail Head Boulevard, Naples, FL        Internet                      $859
                                 34110
TECO                             PO Box 31318, Tampa, FL 33631-3318          Natural Gas                   $225

TXU Energy                       PO Box 650638, Dallas, TX 75265-            Electricity                   $5,699
                                 0638
USA Scrap Metal & Recycling      3147 N.W. N. River Dr., Miami FL            Waste                         $1,597
                                 33142
Waste Connections                1751 S.W. 43rd Terrance, Deerfield          Waste                         $183
                                 Beach, FL 33442
Waste Management                 3831 N.W. 21st Ave., Pompano Beach          Waste                         $2,103
                                 FL 33073
Waste Pro                        411 Tall Pines Rd., West Palm Beach         Waste                         $2,239
                                 FL 33413




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                                                          DOCS_DE:244646.1
Case 23-11388-CTG    Doc 15     Filed 09/07/23   Page 29 of 39




                        EXHIBIT B

                    Proposed Final Order




                       DOCS_DE:244646.1
                  Case 23-11388-CTG              Doc 15        Filed 09/07/23       Page 30 of 39




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Joint Administration Requested)
                                                           )
                                                           )   Re: Docket No. __

FINAL ORDER (I) APPROVING THE DEBTOR’S PROPOSED FORM OF ADEQUATE
ASSURANCE OF PAYMENT, (II) ESTABLISHING PROCEDURES FOR RESOLVING
     OBJECTIONS BY UTILITY COMPANIES, (III) PROHIBITING UTILITY
COMPANIES FROM ALTERING, REFUSING OR DISCONTINUING SERVICE, AND
                    (IV) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Entry of Interim and Final Orders (I) Approving the

Debtor’s Proposed Form of Adequate Assurance of Payment, (II) Establishing Procedures for

Resolving Objections by Utility Companies, (III) Prohibiting Utility Companies from Altering,

Refusing or Discontinuing Service, and (IV) Granting Related Relief (the “Motion”)2 filed by the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) for entry of a final

order (this “Final Order”), (i) approving the Debtors’ proposed form of adequate assurance of

postpetition payment to the Utility Companies; (ii) establishing procedures for resolving any

objections by the Utility Companies relating to the Proposed Adequate Assurance; (iii) prohibiting

the Utility Companies from altering, refusing or discontinuing service to, or discriminating against,

the Debtors solely on the basis of (a) the commencement of the Chapter 11 Cases, (b) a debt that

is owed by the Debtors for services rendered prior to the Petition Date or (c) on account of any



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
      Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
      Ave., Palm Springs, FL 33406.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



                                                    DOCS_DE:244646.1
              Case 23-11388-CTG          Doc 15        Filed 09/07/23    Page 31 of 39




perceived inadequacy of the Debtors’ Proposed Adequate Assurance; and (iv) granting related

relief; all as more fully set forth in the Motion; and upon consideration of the First Day Declaration;

and the record of these Chapter 11 Cases; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012, and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and the First Day Declaration and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on a final basis as set forth herein.

       2.      Any objections to the Motion not resolved or otherwise withdrawn are

OVERRULED.

       3.      The Proposed Adequate Assurance is hereby approved on a final basis and is

deemed “adequate assurance of payment” for purposes of section 366 of the Bankruptcy Code.




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                                            DOCS_DE:244646.1
              Case 23-11388-CTG         Doc 15       Filed 09/07/23   Page 32 of 39




         4.    The Adequate Assurance Procedures set forth in the Motion are approved on a final

basis.

         5.    To the extent not already deposited pursuant to the Interim Order, the Debtors shall

(i) establish a newly-created, interest-bearing, segregated account (the “‘Utility Deposit Account”)

and (ii) place a deposit in the amount of Sixty-Four Thousand One Hundred Sixty-Two Dollars

($64,162.00) (the “Utility Deposit”) into such Utility Deposit Account.

         6.    The Utility Deposit shall be held for the purpose of providing adequate assurance

of payment to each Utility Company for its postpetition Utility Services to the Debtors.

         7.    The following procedures (the “Adequate Assurance Procedures”) for any Utility

Company not satisfied with the Proposed Adequate Assurance to request additional adequate

assurance (an “Additional Assurance Request”) are approved on a final basis:

                   (a) Within forty-eight (48) hours after the date of entry of this Final Order, the
                       Debtors will mail a copy of this Final Order to the Utility Companies on the
                       Utility Company List.

                   (b) If a Utility Company is not satisfied with the Proposed Adequate Assurance
                       and seeks additional adequate assurance of payment, it must serve an
                       Additional Assurance Request upon (i) proposed counsel to the Debtors,
                       Proskauer Rose LLP, Eleven Times Square, New York, NY 10036 (Attn:
                       Brian S. Rosen (brosen@proskauer.com) and Megan R. Volin
                       (mvolin@proskauer.com); (ii) proposed co-counsel to the Debtors,
                       Pachulski, Stang, Ziehl, & Jones, 919 North Market Street, 17th Floor,
                       Wilmington, Delaware 19801 (Attn: Laura Davis Jones); and (iii) Office of
                       the United States Trustee, J. Caleb Boggs Federal Building, 844 King
                       Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (collectively, the
                       “Adequate Assurance Notice Parties”).

                   (c) An Additional Assurance Request may be made at any time.

                   (d) Each Additional Assurance Request must (i) be made in writing; (ii) set
                       forth the amount and form of additional assurance of payment requested;
                       (iii) set forth the type of Utility Services, any account numbers, and the
                       location for which Utility Services are provided; (iv) include a summary of
                       the Debtors’ payment history relevant to the affected account(s), including
                       any security deposits or other prepayments or assurances previously
                       provided by the Debtors; and (v) set forth why the Utility Company believes

                                                 3
                                          DOCS_DE:244646.1
            Case 23-11388-CTG          Doc 15       Filed 09/07/23   Page 33 of 39




                     that the Proposed Adequate Assurance is not sufficient adequate assurance
                     of payment.

                  (e) Upon the Debtors’ timely receipt of an Additional Assurance Request at the
                      addresses set forth above, the Debtors will have twenty (20) days from the
                      receipt of such Additional Assurance Request, or such longer period agreed
                      to among the Debtors and the requesting Utility Provider (the “Resolution
                      Period”), to negotiate regarding with such Utility Provider’s request for
                      additional assurance of payment.

                  (f) The Debtors may resolve any Additional Assurance Request by mutual
                      agreement with the respective Utility Company without further order of the
                      Court, and may, in connection with any such agreement, provide a Utility
                      Company with additional adequate assurance of future payment, including
                      cash deposits, prepayments, and other forms of security, without further
                      order of the Court if the Debtors believe such additional assurance is
                      reasonable.

                  (g) If the Debtors determine that the Additional Assurance Request is not
                      reasonable and is not able to reach an alternative resolution with the Utility
                      Company during the Resolution Period, then the Debtors, during or
                      immediately after the Resolution Period, will request a hearing before the
                      Court to determine the adequacy of assurances of payment with respect to
                      a particular Utility Provider (the “Determination Hearing”) pursuant to
                      section 366(c)(3) of the Bankruptcy Code.

                  (h) Pending resolution of a dispute scheduled for a Determination Hearing, the
                      Utility Company filing such Additional Assurance Request shall be
                      prohibited from altering, refusing, or discontinuing service to the Debtors
                      on account of unpaid charges for prepetition services or on account of any
                      objections to the Proposed Adequate Assurance.

                  (i) All Utility Companies shall be deemed to have adequate assurance of
                      payment pursuant to section 366 of the Bankruptcy Code unless and until
                      (i) the Debtors agree in writing to (a) an Additional Assurance Request, or
                      (b) a form of alternative adequate assurance with the Utility Company
                      during the Resolution Period; or (ii) the Court enters an order at any
                      Determination Hearing requiring that additional adequate assurance of
                      payment be provided.

       8.     The Debtors may, subject to the terms of this Final Order, amend or supplement the

Utility Company List to add any Utility Company. The Debtors shall file any such amended or

supplemental Utility Company List with the Court, and serve a copy of the Motion, this Final

Order and the amended Utility Company List on any Utility Company that is added to the Utility


                                                4
                                         DOCS_DE:244646.1
             Case 23-11388-CTG          Doc 15       Filed 09/07/23   Page 34 of 39




Company List. Within twenty (20) days from the time a Utility Company is added to the Utility

Company List, the Debtors shall increase the Utility Deposit in an amount equal to the cost of two

(2) weeks of Utility Services provided by such Utility Company added to the Utility Company

List, calculated as a historical average over the seven (7) month period prior to the Petition Date.

A Utility Company added to the Utility Company List shall be permitted to make an Additional

Assurance Request according to the Adequate Assurance Procedures.

       9.      The Debtors may remove a Utility Company from the Utility Company List by

filing with the Court a notice or an amended Utility Company List identifying the Utility Company

to be removed, and serving a copy of such notice or amended Utility Company List on the Utility

Company to be removed. The Utility Company shall have twenty-one (21) days after service of

the notice or amended Utility Company List upon such Utility Company to object to its removal

from the Utility Company List. If the Utility Company does not timely object to its removal from

the Utility Company List, the Utility Company’s removal from the Utility Company List shall be

immediately and automatically effective. If a Utility Company timely objects to its removal from

the Utility Company List, the Debtors shall request a hearing before this Court at the next omnibus

hearing date in these Chapter 11 Cases, or such other date that the Debtors and the Utility Company

may agree, and the Utility Company’s removal from the Utility Company List shall not be effective

until such objection has been resolved either consensually or by order of this Court.

       10.     In the event a Utility Provider is removed from the Utility Company List pursuant

to the terms of this Final Order, (i) the Debtors are authorized to reduce the amount of the Utility

Deposit by the amount that was attributable to the removed Utility Company and such amount will

be promptly returned to the Debtors without further order of the Court, and (ii) if the removed

Utility Company received any adequate assurance amounts from the Debtors, the removed Utility



                                                 5
                                          DOCS_DE:244646.1
              Case 23-11388-CTG        Doc 15          Filed 09/07/23   Page 35 of 39




Company shall promptly return such amounts to the Debtors (but in no event later than five (5)

business days after the Utility Provider is removed from the Utility Company List).

        11.    Pending the resolution of any Additional Assurance Request, Objection or

Determination Hearing, the Utility Companies, regardless of when they were added to the Utility

Company List, shall be prohibited from (i) discriminating against the Debtors, (ii) altering,

refusing or discontinuing service to the Debtors, or (iii) requiring payment of a deposit or other

security for postpetition Utility Services, other than the Adequate Assurance Deposit, as a result

of the Debtors’ bankruptcy filing or any outstanding prepetition invoices, subject to any further

order(s) of the Court.

        12.    This Final Order shall be binding on all Utility Companies, regardless of when a

Utility Company was added to the Utility Company List, subject to any further order of the Court.

        13.    This Final Order is without prejudice to any party’s rights to contest any amount

owed to a Utility Company. Nothing in this Final Order or the Motion shall be deemed to

constitute postpetition assumption of any agreement pursuant to section 365 of the Bankruptcy

Code.

        14.    In accordance with this Final Order and any other order of this Court, each of the

financial institutions at which the Debtors maintain their accounts relating to the provision of

payment of adequate assurance as provided in this Final Order is authorized to honor checks and

electronic payment requests presented for the provision of adequate assurance as provided in this

Final Order and all fund transfer requests made by the Debtors related thereto to the extent that

sufficient funds are on deposit in such amounts.




                                                   6
                                         DOCS_DE:244646.1
             Case 23-11388-CTG          Doc 15        Filed 09/07/23    Page 36 of 39




       15.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       17.     The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Final Order in accordance with the Motion.

       18.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Final Order.




                                                  7
                                           DOCS_DE:244646.1
                                 Case 23-11388-CTG       Doc 15       Filed 09/07/23     Page 37 of 39




                                                             Schedule 1
                                                       Utility Company List

        Utility Company                Utility Company’s Address                      Service Type         Adequate Assurance
                                                                                                                Deposit
ABC Paging City Beeper            9337 S.W. 40th St., Miami, FL 33165         Telephone                  $109



AT&T                              208 S. Akard St., Dallas, TX 75202          Internet                   $1,538



Bradenton Utilities Commission    101 12th St., West Bradenton, FL 34205      Waste                      $556



CarWars                           6060 N. Central Expressway, Suite           Telephone                  $5,208
                                  #101, Dallas, TX 75206


City of North Lauderdale Water    PO Box 152546, Cape Coral, FL 33915-        Water                      $3,006
and Sewer                         2546


Coastal Waste                     4220 15th St. E., Bradenton FL 34208        Waste                      $851



Consolidated Communications       2116 S. 17th St., Mattoon, IL 61938         Internet                   $441




                                                           DOCS_DE:244646.1
                                  Case 23-11388-CTG       Doc 15       Filed 09/07/23        Page 38 of 39




         Utility Company                Utility Company’s Address                      Service Type            Adequate Assurance
                                                                                                                    Deposit
Comcast Corporation                1701 JFK Boulevard, Philadelphia, PA        Internet                      $4,479
                                   19103


Crown Castle                       1220 Augusta Dr., Suite #600, Houston,      Internet                      $5,279
                                   TX 77057


Florida Public Utilities           PO Box 610, Marianna, FL 32447-0610         Natural Gas                   $158



Florida Power and Light Company    General Mail Facility Miami, FL 33188-      Electricity                   $39,673
                                   0001


Harris County MUD #63              9826 Whithorn Dr., Houston, TX              Water                         $1,616
                                   77095
Lumen                              3340 Peachtree Road N.E., Suite #200,       Telephone                     $10,868
                                   Atlanta, GA 30326
Manatee County Utilities           PO Box 25010, Bradenton, FL 34206-          Water                         $1,355
Department                         5010
Miami Dade Water and Sewer         PO Box 026055, Miami, FL 33102-6055 Water                                 $5,935

Orange County Utilities            9150 Curry Ford Road, Orlando, FL           Water                         $1,275
                                   32825-7600
Orlando Utilities Commission       PO Box 31329, Tampa, FL 33631-3329          Electric/Waste                $16,846



                                                                   2
                                                            DOCS_DE:244646.1
                                Case 23-11388-CTG       Doc 15       Filed 09/07/23        Page 39 of 39




           Utility Company             Utility Company’s Address                     Service Type            Adequate Assurance
                                                                                                                  Deposit
Palm Beach County Water Utilities 9045 Jog Road, Boynton Beach, FL           Water                         $1,966
Department                        33472
Sprint                           6391 Sprint Parkway, Overland Park,         Internet                      $851
                                 KS 66251
Starlink                         1 Rocket Road, Hawthorne, CA 90250          Internet                      $232

Summitt Broadband                1443 Rail Head Boulevard, Naples, FL        Internet                      $859
                                 34110
TECO                             PO Box 31318, Tampa, FL 33631-3318          Natural Gas                   $225

TXU Energy                       PO Box 650638, Dallas, TX 75265-            Electricity                   $5,699
                                 0638
USA Scrap Metal & Recycling      3147 N.W. N. River Dr., Miami FL            Waste                         $1,597
                                 33142
Waste Connections                1751 S.W. 43rd Terrance, Deerfield          Waste                         $183
                                 Beach, FL 33442
Waste Management                 3831 N.W. 21st Ave., Pompano Beach          Waste                         $2,103
                                 FL 33073
Waste Pro                        411 Tall Pines Rd., West Palm Beach         Waste                         $2,239
                                 FL 33413




                                                                 3
                                                          DOCS_DE:244646.1
